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                    Exhibit A




  {02172463‐1 }
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              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                CENTRAL DIVISION

   MILLROCK INVESTMENT FUND 1, LLC,
                                                        ORDER SETTING BRIEFING
             Plaintiff,                              DEADLINES FOR PENDING MOTIONS

   v.

   HEALTHCARE SOLUTIONS
   MANAGEMENT GROUP, INC.;                               Case No. 2:23-cv-000157-RJS-DAO
   HEALTHCARE SOLUTIONS HOLDINGS
   INC.; LANDES CAPITAL
   MANAGEMENT, LLC; LANDES AND
   COMPAGNIE TRUST PRIVE KB; JOSHUA                      Chief District Judge Robert J. Shelby
   CONSTANTIN; JUSTIN SMITH; STUART
   MCMAHEN; AND BLACK LABEL                               Magistrate Judge Daphne A. Oberg
   SERVICES, INC.,

             Defendants.


           Having reviewed the parties’ Stipulated Motion for an Order Setting Briefing Deadlines

  for Pending Motions, and good cause appearing, the Court hereby sets the following briefing

  deadlines for pending motions:

           1.       The deadline for Defendants Joshua Constantin and Stuart McMahen to file a

  Reply in Support of Motion for Summary Judgment is extended to August 30, 2024.



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         2.      The deadline for Defendants Joshua Constantin and Stuart McMahen to respond

  to Plaintiff’s Rule 56(d) Motion is extended to August 30, 2024.

         All other matters and deadlines as currently scheduled shall remain unchanged.

              DATED this ____ day of August, 2024.

                                               BY THE COURT


                                               Daphne A. Oberg
                                               United States Magistrate Judge




                                             {02315032-1 }2
